              Case 2:18-cv-00874-RSL Document 37 Filed 07/20/18 Page 1 of 3



 1                                               THE HONORABLE ROBERT S. LASNIK

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 8                                 UNITED STATES DISTRICT COURT

 9                              WESTERN DISTRICT OF WASHINGTON
10                                          AT SEATTLE

11     DOMAIN NAME COMMISSION LIMITED
12                       Plaintiff,                 Case No. 2:18-cv-874
13           v.                                     DEFENDANT DOMAINTOOLS’
                                                    AMENDED NOTICE OF
14     DOMAINTOOLS, LLC,                            UNAVAILABILITY OF COUNSEL
15                       Defendant.
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     DEFENDANT’S AMENDED NOTICE OF                         ORRICK, HERRINGTON & SUTCLIFFE LLP
     UNAVAILABILITY: Case No. 2:18-cv-874                         701 Fifth Avenue, Suite 5600
                                                                Seattle, Washington 98104-7097
                                                                         +1-206-839-4300
              Case 2:18-cv-00874-RSL Document 37 Filed 07/20/18 Page 2 of 3



 1           Defendant DomainTools hereby gives notice to the Court and Plaintiff Domain Name

 2    Commission Limited and opposing counsel that DomainTools’ lead counsel Aravind

 3    Swaminathan will be unavailable from Monday, July 23 through and including Friday, July

 4    27, due to a pre-planned vacation. Mr. Swaminathan will additionally be unavailable from

 5    Wednesday, August 8 through and including Friday, August 10, due to a pre-planned speaking

 6    engagement and conference.

 7    Dated: July 20, 2018                      ORRICK, HERRINGTON & SUTCLIFFE LLP
 8

 9                                               By:      s/Aravind Swaminathan
                                                          s/Melanie D. Phillips
10                                                        s/Jacob M. Heath
                                                          s/Robert L. Uriarte
11                                                      Aravind Swaminathan (State Bar No. 33883)
                                                        aswaminathan@orrick.com
12                                                      Melanie D. Phillips (State Bar No. 48945)
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13                                                      Orrick, Herrington & Sutcliffe LLP
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17                                                      Robert L. Uriarte (admitted pro hac vice)
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18                                                      1000 Marsh Road
                                                        Menlo Park, CA 94025-1015
19                                                      Telephone: 650-614-7400
                                                        Facsimile: 650-614-7401
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                                                        Attorneys for Defendant DomainTools, LLC
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     DEFENDANT’S AMENDED NOTICE OF                                 ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                  -1-                     701 Fifth Avenue, Suite 5600
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              Case 2:18-cv-00874-RSL Document 37 Filed 07/20/18 Page 3 of 3



 1                                     CERTIFICATE OF SERVICE
 2
              I hereby certify that on the date below, I caused the foregoing document to be
 3
      electronically filed with the Clerk of the Court using the CM/ECF system which will send
 4
      notification of the filing to all counsel of record.
 5

 6
      DATED: July 20, 2018                            ORRICK, HERRINGTON & SUTCLIFFE LLP
 7
                                                      By: s/Aravind Swaminathan
 8                                                        Aravind Swaminathan (WSBA No. 33883)
 9                                                        aswaminathan@orrick.com

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     DEFENDANT’S AMENDED NOTICE OF                                     ORRICK, HERRINGTON & SUTCLIFFE LLP
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